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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 VICTORIA CHARITY WHITE,

                 Plaintiff,

          v.
                                                               Civil Action No. 22-cv-0027 (TSC)
 ROBERT J. CONTEE, III, Chief of the
 Metropolitan Police Department, et al.,

                 Defendants.


                                  MEMORANDUM OPINION

       Plaintiff Victoria Charity White has sued Defendants District of Columbia; Robert J.

Contee, III, Chief of the Metropolitan Police Department (“MPD”); MPD Officer John Doe 1;

and MPD Officers John Does 2-7. Compl., ECF No. 1. White brings claims against all

Defendants for (1) violation of her Fourth, Fifth, and Fourteenth Amendment and Due Process

Rights, (2) excessive force in violation of her Fourth Amendment rights under 42 U.S.C. § 1983,

(3) retaliation in violation of the Fifth Amendment under 42 U.S.C. § 1983, (4) violation of her

Fifth Amendment rights under 42 U.S.C. § 1983, and (5) deliberately indifferent policies,

practices, customs, training, and supervision in violation of the Fourteenth and First

Amendments and in violation of 42 U.S.C. § 1981. Id. ¶¶ 47-93, 109. White also sues

Defendant Officers John Doe 1 and John Does 2-7 for common law claims including (6) battery,

(7) excessive force, (8) assault, (9) false imprisonment, (10) false arrest, (11) intentional

infliction of emotional distress, and (12) negligent infliction of emotional distress. Id. ¶¶ 94-108.




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                                      I.     BACKGROUND

       White’s claims arise from the events of January 6, 2021 at the United States Capitol

building. Compl. ¶ 1. She alleges that while she was “exercising her First Amendment rights” at

the Capitol, MPD officers beat her with a baton, and hit, punched, and prevented her from

leaving. Id. ¶¶ 17-18, 35-36, 39.

       Defendants have moved to dismiss under Federal Rules of Civil Procedure 12(b)(5), for

insufficient service of process, and 12(b)(6), for failure to state a claim. Defendants’ Motion to

Dismiss at 1, ECF No. 14. Defendants argue that Chief Contee was not served with the

Complaint, that Chief Contee is not liable for the conduct of his subordinates under the doctrine

of respondeat superior, that White failed to properly allege a § 1981 claim against the District,

and that White’s § 1983 claims against the District fail for various reasons. Defendants’

Memorandum in Support of Motion to Dismiss at 5-11, ECF No. 14-2. In the alternative,

Defendants move for partial summary judgment, asserting that White failed to timely provide the

District with notice of her common law claims—a statutory requirement for waiver of the

District’s sovereign immunity as to those claims. Id. at 1, 11; see D.C. Code § 12-309. In

response, White has moved to dismiss without prejudice, claiming she needs more time and

resources to prepare for her criminal trial for offenses related to her actions at the Capitol on

January 6. Plaintiff’s Motion to Dismiss at 3, ECF No. 15 (“Pl.’s Mot. to Dismiss”). Defendants

oppose White’s motion, arguing that any dismissal should be with prejudice. Defendants’

Opposition to Plaintiff’s Motion to Dismiss, ECF No. 17 (“Defs.’ Opp.”).

                                    II.    LEGAL STANDARD

       Under Federal Rule of Civil Procedure 41(a)(1), a plaintiff may voluntary dismiss their

action without a court order (A) when the plaintiff has filed the motion before the opposing party

serves an answer or a motion for summary judgment, or (B) if all parties sign a stipulation of
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dismissal. If neither of these circumstances apply, a party may seek dismissal under Rule

41(a)(2).

       Under Rule 41(a)(2), actions are dismissed by court order “without prejudice” unless the

order states otherwise. Courts granting dismissal without prejudice under Rule 41(a)(2) must

evaluate: “(1) whether plaintiffs’ motion for voluntary dismissal was sought in good faith; and

(2) whether the defendants would suffer legal prejudice from a dismissal at this stage in the

litigation.” In re Vitamins Antitrust Litig., 198 F.R.D. 296, 304 (D.D.C. 2000) (cleaned up);

Conafay by Conafay v. Wyeth Lab’ys, a Div. of Am. Home Prod. Corp., 793 F.2d 350, 353 (D.C.

Cir. 1986) (holding that federal courts typically grant voluntary dismissals when they are sought

in good faith, “unless the defendant would suffer prejudice other than the prospect of a second

lawsuit or some tactical advantage”). “Legal prejudice is determined by considering four factors:

(1) the defendants’ effort and expense in preparation for trial; (2) excessive delay or lack of

diligence on the plaintiffs’ part in prosecuting the action; (3) the adequacy of the plaintiffs’

explanation for voluntary dismissal; and (4) the stage of the litigation at the time the motion to

dismiss is made.” In re Fed. Nat’l Mortg. Ass’n Sec., Derivative, ERISA Litig., 725 F.Supp.2d

169, 176 (D.D.C. 2010), rev’d and remanded on other grounds sub nom. Kellmer v. Raines, 674

F.3d 848 (D.C. Cir. 2012) (internal citation and quotation marks omitted).

                                        III.      ANALYSIS

       Here, neither of Rule 41(a)(1)’s conditions are met. The parties have not stipulated to a

dismissal. And while Defendants have not filed an answer, their motion to dismiss sought

summary judgment in the alternative, which qualifies as a “motion for summary judgment” for

purposes of Rule 41(a)(1). See, e.g., Johnson v. Wynne, 239 F.R.D. 283, 286 (D.D.C. 2006);

Robinson v. England, 216 F.R.D. 17, 18 (D.D.C. 2003). Because Defendants’ motion preceded



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White’s, her voluntary dismissal can only be granted via court order—as White herself concedes.

See Pl.’s Mot. to Dismiss at 4.

        Such an order is warranted here. Defendants do not dispute that White seeks voluntary

dismissal in good faith. Nor is there any indication that dismissal would prejudice Defendants

under any of the four relevant factors: (1) Defendants’ preparations for trial, (2) excessive delay

or lack of diligence, (3) inadequacy of explanation, or (4) the stage of the litigation. See In re

Fed. Nat’l Mortg. Ass’n Sec., Derivative, ERISA Litig., 725 F.Supp.2d at 176. The first and

fourth factors concern the expenses or efforts incurred by the parties preceding a voluntary

dismissal. White’s dismissal comes at the pleadings stage. “No discovery has been completed.”

Mittakarin v. InfoTran Sys., Inc., 279 F.R.D. 38, 41 (D.D.C. 2012). Defendants allege no

“effort[s] [nor] expense[s] in preparation for trial.” In re Fed. Nat’l Mortg. Ass’n Sec.,

Derivative, ERISA Litig., 725 F.Supp.2d at 176. As a result, both the first and fourth factors

reveal no prejudice to Defendants.

        With respect to the second factor, White has not caused excessive delay or lacked

diligence in bringing this action—nor do Defendants so argue. Although White initially failed to

timely serve all Defendants, even when a plaintiff’s conduct is “far from praiseworthy,” the

question is whether the plaintiff has engaged in “excessive delay and lack of diligence in

prosecuting th[e] action as a whole.” Hisler v. Gallaudet Univ., 344 F. Supp. 2d 29, 38 (D.D.C.

2004) (citation omitted) (emphasis in original). Here, White’s initial failure does not rise to that

level, so there is no significant prejudice under this factor.

        Finally, as to the third factor, White offers an adequate explanation for her voluntary

dismissal, asserting that because she is preparing for her criminal trial, she does not have the

“time or resources to spend on her civil case.” Pl.’s Mot. to Dismiss at 3. Citing the costs of



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litigation may be an adequate explanation for voluntary dismissal. See, e.g., Queen v. Schmidt,

No. CV 10-2017, 2016 WL 2757359, at *2 (D.D.C. May 12, 2016) (finding adequate the

explanation that “[t]he cost of litigating in the federal forum is higher” than in the state forum).

Defendants give no reason to doubt it is adequate here.

       Finding neither bad faith from White nor prejudice to Defendants, the court concludes

that voluntary dismissal—without prejudice—is appropriate.

                                      IV.     CONCLUSION

       The court will therefore GRANT White’s Motion to Dismiss, ECF No. 15, without

prejudice, and DENY Defendant’s Motion to Dismiss, ECF No. 14, as moot.



Date: November 1, 2022

                                                   Tanya S. Chutkan
                                                   TANYA S. CHUTKAN
                                                   United States District Judge




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